Case 2:23-cv-02224-MSN-atc   Document 324-3   Filed 03/04/25   Page 1 of 4
                              PageID 4586




               EXHIBIT 3
      Case 2:23-cv-02224-MSN-atc          Document 324-3        Filed 03/04/25      Page 2 of 4
                                           PageID 4587



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 RowVaughn Wells, Individually and as                )
 Administratrix of the Estate of Tyre Deandre        )
 Nichols, Deceased,                                  )
                                                     )
                                                     )
        Plaintiff,                                   )
                                                     )
 v.                                                  )    CASE NO. 2:23-CV-02224
                                                     )    JURY DEMAND
 The City of Memphis, Tennessee; Chief Cerelyn       )
 Davis; Emmitt Martin III;                           )
 Demetrius Haley; Justin Smith;                      )
 Desmond Mills, Jr.; Tadarrius Bean;                 )
 Preston Hemphill; Robert Long;                      )
 JaMichael Sandridge; Michelle Whitaker;             )
 DeWayne Smith,                                      )
                                                     )
        Defendants.                                  )


           DEFENDANT THE CITY OF MEMPHIS’ REVISED RESPONSE TO
               PLAINTIFF’S REQUEST FOR PRODUCTION NO. 133


       Defendant the City of Memphis (“the City”), pursuant to Rule 34 of the Federal Rules of

Civil Procedure, revises its response to Plaintiff’s Request for Production No. 133 as follows:

       This revised response is limited to Plaintiff’s Request for Production No. 133, which was

included in Plaintiff’s Sixth Set of Requests for Production. As agreed upon by Plaintiff and the

City, the City will provide its full revised responses to the Sixth Set of Requests for Production by

January 21, 2025. The City reserves the right to amend or supplement this response as additional

information becomes available through discovery and/or expert opinion or otherwise.

       All references to the Production Inventory shall be read to mean the most recently updated

Production Inventory served upon all counsel.



                                                 1
     Case 2:23-cv-02224-MSN-atc           Document 324-3         Filed 03/04/25      Page 3 of 4
                                           PageID 4588



                                            RESPONSE

       133.    All documents the City has provided or produced to the DOJ since January 7, 2023

relating to or in connection with the DOJ Pattern or Practice Investigation.

       RESPONSE: The City is producing documents responsive to this Request. The responsive

documents are identified by Bates Number in the Production Inventory

       The City objects to producing certain law enforcement databases that were produced to the

DOJ on the grounds of relevancy and burdensomeness. The databases contain highly sensitive

information about citizens, police officers, and ongoing investigations that are irrelevant to this

litigation, and which would require a disproportionate amount of cost and effort to segregate out that

information. The City is withholding access to those databases it provided to the DOJ.

                                                      Respectfully submitted,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      s/ Jennie Silk
                                                      Bruce McMullen (#18126)
                                                      Jennie Vee Silk (#35319)
                                                      Freeman B. Foster (#23265)
                                                      165 Madison Avenue, Suite 2000
                                                      Memphis, Tennessee 38103
                                                      Telephone: (901) 526-2000
                                                      bmcmullen@bakerdonelson.com
                                                      jsilk@bakerdonelson.com
                                                      ffoster@bakerdonelson.com

                                                      Attorneys for Defendant City of Memphis,
                                                      Chief Cerelyn Davis in her Official Capacity,
                                                      and Dewayne Smith as Agent of the City of
                                                      Memphis




                                                  2
     Case 2:23-cv-02224-MSN-atc          Document 324-3         Filed 03/04/25   Page 4 of 4
                                          PageID 4589



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2025, a copy of the foregoing document was served on

all counsel of record and the Guardian Ad Litem via e-mail:

                                                    s/ Jennie Silk
                                                    Jennie Silk




                                                3
